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                                                        March 07, 2022
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                                                     WESTERN DISTRICT OF TEXAS

                                                          Michael Trujillo
                                                  BY: ________________________________
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